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B 2100A (Form 2100A] (12/15]

UNITED STATES BANKRUPTCY COURT F \ LED

EASTERN District Of NORTH CAROLINA UCT 2 0 1017

STEPHAN'.F_ J. BUTLER‘ CLERK

111 1'61 ROBIN FELECIA LEARY CaS€ NO. 17-018_]7.3. BANKRUPTCY COU§;
EASTERN DlSTRlCT OF

TRANSFER OF CLAIM ()THER THAN FOR SECURITY

A CLAIM HAS BEEN FILED lN THIS CASE or deemed filed under ll U.S.C. § Ill l(a). 'I`ransferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfcr, other
than for security, of the claim referenced in this evidence and notice

U.S. Bank Trusl. N.A.. as Trustee for LSFlU Master Parfieipation Trust Beneficial Financial l lnc.` successor by merger to
Benef'icinl Mort,f_r.age Co. ofNorth Carolinn lnc.

l-lSBC Morlgage Services. Iric.

Name of Transferee Name of 'l`ransferor
Name and Address where notices to transferee Court Claim # (if known): §r-l
should be sent: Amount of Claim: 5150963.47
Caliber Home Loans, lnc. Date Claim Filed: 06/29."2017

13801 Wireless Way
Oklahoma City, OK 73134
Phone: 1800)40|-6587
E-mail: SD-Bankruptey@caliberhomeloans.com
Last Four Digits of Aect #: 2966 Phone: (866) 824-0824
Last Four Digits of Acct. #: M

Name and Address where transferee payments
should be sent (if different from above):
Caliber Home Loans, lnc.

PO Box 24330

Oklahoma City, OK 73124

Phone: (300)401-6537

E-mail: SD-Bankruptcy@caliberhomeloans.eom
Last Four Digits ofAcct #: 2966

I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By:

AIS Data Services. LP as agent Date IO /[q 1510 lr)
Transferee/'I`ransferee`s Agent

Pe:m/{\'fm' making afb/se sm.'emcm.‘ Fine ofup 10 $5()0.1)0() or imprisonment for up lo 5 years or bolh. 18 U.S.C. §§ 152 &. 3571.

